              Case 3:23-cv-09962-TKW-ZCB                   Document 1-2         Filed 05/10/23         Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                    STATE OF FLORIDA                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No.
                                                                  )
             ALEJANDRO MAYORKAS, et al.                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE HONORABLE ALEJANDRO MAYORKAS
                                       Secretary of Homeland Security
                                       United States Department of Homeland Security
                                       Office of the General Counsel
                                       2707 Martin Luther King Jr. Ave SE
                                       Washington, DC 20528-0485



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       JAMES HAMILTON PERCIVAL , II
                                       State of Florida
                                       Ashley Moody, Florida Attorney General
                                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399-1050

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
               Case 3:23-cv-09962-TKW-ZCB                        Document 1-2        Filed 05/10/23              Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
              Case 3:23-cv-09962-TKW-ZCB                   Document 1-2         Filed 05/10/23        Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                    STATE OF FLORIDA                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No.
                                                                  )
             ALEJANDRO MAYORKAS, et al.                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Raul Ortiz
                                       Chief, United States Border Patrol
                                       United States Customs and Border Protection
                                       Office of Chief Counsel
                                       1300 Pennsylvania Avenue, NW, Suite 4.4-B
                                       Washington, D.C. 20229



          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       JAMES HAMILTON PERCIVAL , II
                                       State of Florida
                                       Ashley Moody, Florida Attorney General
                                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399-1050

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
               Case 3:23-cv-09962-TKW-ZCB                        Document 1-2        Filed 05/10/23              Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                              ; or

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
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 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
              Case 3:23-cv-09962-TKW-ZCB                    Document 1-2          Filed 05/10/23        Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Northern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                    STATE OF FLORIDA                               )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
             ALEJANDRO MAYORKAS, et al.                            )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States of America
                                       c/o United States Attorney's Office
                                       Northern District of Florida
                                       Civil Process Clerk - Pensacola Division
                                       21 East Garden Street, Suite 400
                                       Pensacola, FL 32502



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                       JAMES HAMILTON PERCIVAL , II
                                       State of Florida
                                       Ashley Moody, Florida Attorney General
                                       Office of the Attorney General
                                       The Capitol, PL-01
                                       Tallahassee, Florida 32399-1050

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
               Case 3:23-cv-09962-TKW-ZCB                        Document 1-2        Filed 05/10/23              Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $           0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
